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 6
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 9
                  UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF CALIFORNIA
10   AARON CALCAGNO, an               )   Case No.   '14CV2845 H   JMA
     individual                       )
11                                    )   COMPLAINT FOR:
                 Plaintiff,           )
12                                    )   (1)   ARREST WITHOUT
     v.                               )         PROBABLE CAUSE (42 U.S.C. §
13                                    )         1983)
     COUNTY OF SAN DIEGO, a           )
14   municipal corporation, KURT      )   (2)   ILLEGAL SEARCH AND
     CARTIE, and DOES 1-50 inclusive, )         SEIZURE IN VIOLATION OF
15                                    )         FRANKS V. DELAWARE (42
                 Defendants.          )         U.S.C. § 1983)
16                                    )
                                      )   (3)   FALSE IMPRISONMENT
17                                    )
                                      )   (4)   INTENTIONAL INFLICTION OF
18                                    )         EMOTIONAL DISTRESS
                                      )
19                                    )   (5)   NEGLIGENCE
                                      )
20                                    )
                                      )
21                                    )
                                      )   JURY TRIAL IS HEREBY
22                                    )   DEMANDED PURSUANT TO FRCP
                                      )   RULE 38
23                                    )
                                      )
24                                    )
                                      )
25                                    )
                                      )
26                                    )
                                      )
27                                    )
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 1         Plaintiff alleges and complains as follows:
 2                                       I.
                                GENERAL ALLEGATIONS
 3
 4         1.     Jurisdiction is founded upon the existence of a federal question,
 5   pursuant to 28 U.S.C. §§ 1331, 1343(a)(3) and (4).
 6         2.     This is an action to redress the deprivation under color of statute,
 7   ordinance, regulation, custom or usage of rights, privileges, and immunities
 8   secured to the Plaintiff by the Fourth and Fourteenth Amendments to the
 9   Constitution of the United States (42 U.S.C. § 1983) and arising under the law and
10   statutes of the State of California.
11         3.     This Court has supplemental jurisdiction over the pendent state law
12   claims under 28 U.S.C. § 1367(a).
13         4.     Pursuant to 28 U.S.C. § 1391(b), venue is proper in the Southern
14   District of California because the acts or omissions which form the basis of the
15   Plaintiff’s claims occurred in San Diego, California.
16         5.     Plaintiff has complied with Cal. Gov. Code §§ 800 et seq.
17         6.     At all times relevant to this complaint, Plaintiff was an individual
18   residing in San Diego, California.
19         7.     At all times relevant to this complaint, Defendants KURT CARTIE
20   and DOES 1-50 were acting within the scope of their employment for the San
21   Diego Sheriff’s Department.
22         8.     At all times relevant to this complaint, Defendants DOES 1-50 were
23   San Diego Sheriff Deputies and agents of the COUNTY OF SAN DIEGO. At all
24   times relevant hereto, these defendants were acting in their professional capacities.
25         9.     Defendants DOES 1-50 participated in the arrest of Aaron Calcagno.
26         10.    Plaintiff is truly ignorant of the true names and capacities of DOES
27   and/or is truly ignorant of the facts giving rise to their liability and will amend this
28   complaint once their identities have been ascertained as well as the facts giving


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 1   rise to their liability.
 2          11.    These defendants were agents, servants, and employees of the other
 3   named defendants and were acting at all times within the full course and scope of
 4   their agency and employment, with the full knowledge and consent, either
 5   expressed or implied, of their principal and/or employer and each of the other
 6   named defendants had approved or ratified the actions of these defendants, thereby
 7   making the currently named defendants herein liable for the acts and/or omissions
 8   of their agents, servants and/or employees.
 9                                            II.
                                            FACTS
10
            12.    Plaintiff realleges all prior paragraphs of this complaint and
11
     incorporates the same herein.
12
            13.    Defendants were investigating a series of thefts and fraud committed
13
     by a man whose image was captured on video surveillance tapes at various
14
     businesses.
15
            14.    The suspect was described by the victims as “a white male, about 30
16
     years old, standing 6'0" and weighing about 180 pounds. He has short dark hair
17
     with sideburns. He may have been wearing prescription glasses with transition
18
     lenses.”
19
            15.    The description given by the victims (a white male, about 30 years
20
     old, standing 6'0" and weighing about 180 pounds) is consistent with hundreds of
21
     thousands of persons in the United States.
22
            16.    On June 18, 2014, Crime Stoppers ran a story regarding the crimes
23
     showing surveillance photos of the suspect and photos of the cars driven by the
24
     suspect.
25
            17.    An anonymous caller contacted the police and told them that the
26
     suspect looked like Plaintiff, Aaron Calcagno.
27
            18.    Defendants did not know the identity of the anonymous caller; the
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 1   caller’s relationship to Plaintiffs; whether the caller was reliable; or whether the
 2   caller was acting out of malice.
 3         19.    Defendant CARTIE, a detective, obtained a photograph of
 4   Mr. Calcagno from the DMV and compared it to the photograph of the suspect that
 5   was captured on videotape surveillance.
 6         20.    Mr. Calcagno’s appearance does not resemble that of the person
 7   shown on the videotapes.
 8         21.    According to the information on Mr. Calcagno’s driver’s license,
 9   Mr. Calcagno was 38 years old, 5'8" and 165 pounds, approximately eight years
10   older, four inches shorter, and 15 pounds lighter than the suspect. In June of 2014,
11   Mr. Calcagno weighed 158 pounds.
12         22.    However, the information given to the Court pursuant to the search
13   warrant was that Mr. Calcagno was issued a California driver license, “being a
14   white male adult, about 5'11" tall, about 175 lb., with brown hair and brown eyes.”
15         23.    Upon information and belief, Defendant CARTIE intentionally
16   omitted accurate information of Mr. Calcagno’s height and weight in a sworn
17   declaration to obtain a search warrant, because he knew that a judge would not
18   sign a warrant given the difference in the appearance between Mr. Calcagno and
19   the suspect. Instead, Defendants added three inches and ten pounds to the known
20   description of Mr. Calcagno which they obtained from the DMV.
21         24.    In order to obtain a search warrant, Defendant CARTIE made false
22   statements and omissions of material facts in his declaration.
23         25.     Defendants omitted the description of the cars seen leaving the crime
24   scene because they knew that they were dissimilar to the cars Mr. Calcagno
25   owned.
26         26.    On June 20, 2014, two days after the Crimestoppers advertisement
27   had run, Defendants obtained a search warrant for Mr. Calcagno’s residence.
28         27.    That evening at approximately 5:45 p.m., Defendants executed the

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 1   warrant at Mr. Calcagno’s home.
 2          28.      Defendants handcuffed Mr. Calcagno in front of his minor children.
 3          29.      Mr. Calcagno asked to use the telephone to call Sharp Grossmont
 4   Hospital, where he worked as a registered nurse, to let them know he would be late
 5   for his 7:00 p.m. shift.
 6          30.      One of the defendants stated that Mr. Calcagno was not going to work
 7   that night.
 8          31.      Following the search, Defendant CARTIE asked to speak to
 9   Kathleen, Mr. Calcagno’s wife, outside the house.
10          32.      Defendant CARTIE knew that Kathleen Calcagno was an analyst
11   with the Drug Enforcement Administration.
12          33.      Defendant CARTIE showed Kathleen Calcagno surveillance
13   photographs of the suspect. Mrs. Calcagno immediately pointed out the obvious
14   differences in appearance between the photographs and her husband. The suspect
15   had a long and pointy nose that was substantially narrower than Mr. Calcagno’s.
16          34.      Defendant CARTIE told Mrs. Calcagno that they found no evidence
17   from the burglaries or clothing worn by the suspect in the home.
18          35.      Defendant CARTIE then told Mrs. Calcagno that he had probable
19   cause to arrest Mr. Calcagno based on the fuzzy photographs from the videotape
20   surveillance.
21          36.      Defendants knew that Mr. Calcagno did not own the cars suspected to
22   have been driven by the suspect.
23          37.      Defendants knew that Mr. Calcagno owned a dark grey 2014 Honda
24   Odyssey and a silver 2008 Honda Fit. These cars looked nothing like the two cars
25   identified as the possible suspect vehicles seen leaving the scene of the crime,
26   which were a blue pickup truck and a blue sedan.
27   ////
28   ////

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 1            38.   The warrant called for the following items to be seized:
 2                  1. Aaron Calcagno’s personal cell phone;
 3                  2. Laptops and/or personal computers, mobile phones,
                    tablets, thumb drives, and electronic equipment and
 4                  storage devices owned by or primarily used by Aaron
                    Calcagno; to view and forensically examine any devices
 5                  seized pursuant to the warrant;
 6                  3. Papers, documents, and effects tending to show
                    possession, dominion and control over said premises
 7                  including keys, photographs, digital images, and/or
 8
                    video images, anything bearing a person’s name, Social
                    Security number, driver’s license number or other form
 9                  of identification; to view any recording devices seized
                    pursuant to the warrant;
10
                    4. Prescription glasses and sunglasses;
11
                    5. A Ulysses Nardin Santana, Model #67088213;
12
                    6. Rolex Daytona, Serial #5HC96308;
13
                    7. Gift cards;
14
                    8. Panama style hat;
15
                    9. Short sleeve button shirt with collar and pattern with
16                  front pockets;
17                  10. Tan colored baseball cap;
18                  11. Dark dress jacket/blazer;
19                  12. Yellow tie;
20                  13. Dark jeans;
21                  14. Black dress shoes;
22                  15. White dress shirt;
23                  16. Light gray or blue polo style shirt;
24
                    17. Dark shorts with lighter flair of color on sides;
25
                    18. Gray tennis shoes.
26
              39.   Defendants searched Mr. Calcagno’s home for approximately two
27
     hours.
28


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 1         40.      The suspect was known to wear two hats during the commission of
 2   the crimes: a Panama style hat and a beige baseball cap. Defendants found
 3   nothing similar to either in the home.
 4         41.      The suspect was seen in a distinctive bright yellow tie. Defendants
 5   found no yellow tie.
 6         42.      The suspect was seen wearing a distinctively patterned blue and white
 7   short sleeve shirt with two front flap pockets. Defendants found no such shirt.
 8
           43.      The suspect was known to be in possession of two watches, a Ulysses
 9
     Nardin Santana and a Rolex Daytona, neither of which was located in the house.
10
           44.      The suspect was known to be in possession of gift cards that he
11
     purchased with stolen credit cards, none of which were located in the house.
12
           45.      Defendants searched for Panama style hat; patterned blue and white
13
     short sleeve button shirt with a collar and front pockets; tan colored baseball cap;
14
     yellow tie; dark jeans; black dress shoes; light gray or blue polo style shirt; dark
15
     shorts with lighter flair of color on sides; and gray tennis shoes. Defendants found
16
     none of these items during their search.
17
           46.      Defendants took Mr. Calcagno’s cell phone and two laptops.
18
           47.      The only articles of clothing seized from the home were a black
19
     jacket, a white button-up shirt, and a short sleeve shirt; all are nondescript articles
20
21
     of clothing.

22         48.      Defendants found no evidence that would link Mr. Calcagno to any

23   of the crimes.

24         49.      Defendants knew that Mr. Calcagno did not own either of the cars
25   caught on surveillance tape.
26         50.      Defendants were in possession of the video stills of the suspect who
27   was clearly not Mr. Calcagno. Any reasonable police officer would have realized
28   that the stills did not depict Plaintiff and that it would be objectively unreasonable

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 1   to arrest Mr. Calcagno.
 2         51.    Mr. Calcagno has a mole on his face and a tattoo on his arm, which
 3   were not visible in any of the surveillance photographs.
 4         52.    The only similarity between the suspect and Mr. Calcagno was that
 5   they were both white males with short dark hair and sideburns.
 6         53.    Defendants were aware of the security cameras located at the
 7   Calcagno home, but they did not view the tapes or request to view the tapes to
 8
     check the whereabouts of Mr. Calcagno during the commission of the crimes
 9
     being investigated.
10
           54.    Defendants arrested Mr. Calcagno and booked him into jail. The bail
11
     was set at $50,000.00.
12
           55.    Kathleen Calcagno posted the bond and Mr. Calcagno was released
13
     after 4:00 a.m.
14
           56.    The next day, Defendant CARTIE returned the laptop computers to
15
     the Calcagnos, stating that he did not find anything incriminating on them and that
16
     he would not send them to Forensics.
17
           57.    No criminal charges were ever filed against Mr. Calcagno.
18
           58.    As a result of Defendants’ actions, Plaintiff has suffered harm and
19
     injuries in the amount to be proven at trial.
20
21
                                            III
                              FIRST CAUSE OF ACTION
22      [Civil Rights Action (42 U.S.C. § 1983) Against Defendant CARTIE, and
                                      DOES 1 to 50
23                          Arrest without Probable Cause]

24         59.    Plaintiff realleges all prior paragraphs of this complaint and
25   incorporates the same herein.
26         60.    42 U.S.C. § 1983 provides in part:
27                Every person who, under color of any statute, ordinance,
                  regulation, custom, or usage of any State or Territory
28                subjects, or causes to be subjected, any person of the

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 1                United States or other person within the jurisdiction
                  thereof to the deprivation of any rights, privileges, or
 2                immunities secured by the Constitution and laws shall be
                  liable to the party injured in an action at law, suit at
 3                equity or other proper proceeding for redress.
 4         61.    Plaintiff had a firmly established right under the Fourth Amendment
 5   to be free from arrest without probable cause.
 6         62.    Defendants arrested Aaron Calcagno without a warrant despite the
 7   fact that he was not the person who committed the crimes.
 8         63.    Defendants arrested Mr. Calcagno without probable cause, subjecting
 9   him to an unlawful seizure of his person.
10         64.    Defendants ignored all evidence indicating Mr. Calcagno’s
11   innocence. Defendants arrested Mr. Calcagno despite the fact that they found no
12   evidence of a crime in his home.
13         65.    Defendant CARTIE was at this time performing his duties as an
14   officer for the Defendant COUNTY OF SAN DIEGO.
15         66.    During the relevant period, Cartie was acting under color and
16   pretense of law, to wit: under color of the statutes, ordinances, regulations,
17   customs and usages of the State of California and the County of San Diego.
18         67.     The Defendants, separately and in concert, engaged in the illegal
19   conduct to the injury of the Plaintiff, and deprived Plaintiff of the rights, privileges
20   and immunities secured to Plaintiff by the Fourth Amendment to the Constitution
21   of the United States and the laws of the United States. Defendants acted with
22   callous disregard for the constitutionally protected rights of Plaintiff.
23         68.    Plaintiff was subjected to humiliation, fear, and pain and suffering by
24   the illegal acts of Defendants and suffered injuries as a result of the Defendants’
25   actions.
26         69.    Plaintiff is entitled to compensatory damages, punitive damages,
27   attorney’s fees under 42 U.S.C. § 1988, and all applicable law, and such additional
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  1   relief as the Court deems just.
  2                                          IV.
                             SECOND CAUSE OF ACTION
  3      [Violation of 42 U.S.C. § 1983 Illegal Search and Seizure in Violation of
                    Franks v. Delaware under the Fourth Amendment
  4                            against Defendant CARTIE]
  5
             70.     Plaintiff realleges all prior paragraphs of this complaint and
  6
      incorporates the same herein by this reference as if those paragraphs were set forth
  7
      in full herein.
  8
             71.     Defendant CARTIE made false statements knowingly and
  9
      intentionally, or with reckless disregard for the truth, which were included in the
 10
      search warrant affidavit.
 11
             72.     Upon information and belief, Defendant CARTIE stated in the
 12
      affidavit that Aaron Calcagno was 5'11" tall and 175 pounds when he knew that
 13
      Mr. Calcagno was 5'8" tall and 165 pounds.
 14
             73.     Upon information and belief, Defendant CARTIE omitted the fact
 15
      that the suspect was approximately 30 years old; 6' tall and 180 pounds;
 16
      approximately eight years younger, four inches taller and 15 pounds heavier than
 17
      Mr. Calcagno.
 18
             74.     Upon information and belief, Defendant CARTIE omitted the fact
 19
      that the suspect vehicles were a blue pickup truck and a blue sedan. This omission
 20
      was made knowingly and intentionally.
 21
             75.     The search of Aaron Calcagno’s home was unreasonable and illegal
 22
      under the Fourth Amendment because the warrant was based upon statements
 23
      made with knowing falsity or reckless disregard. Absent these false statements,
 24
      there was no probable cause for the issuance of a search warrant.
 25
             76.     The warrant lacked probable cause it was based on the presentation of
 26
      materially false information and the withholding of materially relevant
 27
      information.
 28


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  1            77.   The materially false information and omissions of information in
  2   possession of Defendant CARTIE negated probable cause.
  3            78.   Defendant CARTIE was deliberately indifferent to Plaintiffs’ rights.
  4            79.   The unlawful and illegal conduct of Defendants, their agents, servants
  5   and employees and each of them, deprived Plaintiff of the rights, privileges, and
  6   immunities secured to him by the Constitutions of the United States.
  7            80.   The search of Plaintiff’s home and the seizure of his property
  8   pursuant of a tainted warrant violated the Fourth Amendment.
  9            81.   As a direct, proximate and foreseeable result, Plaintiff has suffered
 10   damages in an amount to be proven at the time of trial.
 11                                V.
                       THIRD CAUSE OF ACTION
 12   [FALSE IMPRISONMENT Against Defendants CARTIE and DOES 1 to 50]
 13
               82.   Plaintiff realleges all prior paragraphs of this complaint and
 14
      incorporates the same herein by this reference as if those paragraphs were set forth
 15
      in full herein.
 16
               83.   Defendants unlawfully detained the Plaintiff for an unreasonable
 17
      period of time after they knew or should have known that Aaron Calcagno was not
 18
      the same person depicted in the surveillance photograph.
 19
               84.   False imprisonment is the nonconsensual, intentional confinement of
 20
      a person, without lawful privilege, for an appreciable length of time, however
 21
      short.
 22
               85.   Mr. Calcagno was imprisoned against his will after being wrongfully
 23
      arrested.
 24
               86.   Defendants knew or should have known that Mr. Calcagno was not
 25
      the suspect caught on video surveillance.
 26
               87.   Defendant CARTIE falsely imprisoned Aaron Calcagno by
 27
      fabricating evidence in his statement of probable cause in violation of Franks v.
 28


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  1   Delaware, 438 U.S. 154 (1978).
  2          88.   The conduct of Defendants also amounts to oppression, fraud or
  3   malice within the meaning of California Civil Code § 3294 et seq. and punitive
  4   damages should be assessed against each defendant for the purpose of punishment
  5   and for the sake of example.
  6          89.   As a result of Defendants’ actions, Plaintiff suffered damages in the
  7   amount to be proven at trial.
  8
                                             XI.
  9                            FOURTH CAUSE OF ACTION
         [Intentional Infliction of Emotional Distress Against Defendants CARTIE
 10                            and COUNTY OF SAN DIEGO]
 11          90.   Plaintiff realleges all prior paragraphs of this complaint and
 12   incorporates the same herein.
 13          91.    By engaging in the acts alleged herein, the Defendants engaged in
 14   outrageous conduct with an intent to casue or a reckless disregard of the
 15   probability of causing Plaintiff to suffer emotional distress.
 16          92.   As a direct, proximate and foreseeable result, Plaintiff has suffered
 17   severe emotional distress and the outrageous conduct was the cause of the
 18   emotional distress suffered by Plaintiff.
 19          93.    The conduct of Defendants also amounts to oppression, fraud or
 20   malice within the meaning of California Civil Code § 3294 et seq. and punitive
 21   damages should be assessed against each defendant for the purpose of punishment
 22   and for the sake of example.
 23          94.   As a result of Defendants’ actions, Plaintiff suffered damages in the
 24   amount to be proven at trial.
 25   ////
 26   ////
 27   ////
 28   ////

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  1                                            XII.
                                   FIFTH CAUSE OF ACTION
  2                 [Negligence Against Defendants COUNTY OF SAN DIEGO,
                                   CARTIE and DOES 1 to 50]
  3
  4            95.    Plaintiff realleges all prior paragraphs of this complaint and
  5   incorporates the same herein.
  6            96.    Defendants, their agents, servants and employees owed a duty of
  7   reasonable care to prevent unnecessary harm to plaintiff Aaron Calcagno.
  8            97.    Defendants were negligent in failing to conduct a proper investigation
  9   before obtaining a search warrant for Mr. Calcagno’s home.
 10            98.    Defendants were negligent in failing to provide critical information in
 11   the affidavit for the search warrant.
 12            99.    Defendants were negligent in arresting Mr. Calcagno when there was
 13   no probable cause.
 14            100. Defendants breached their duty to exercise reasonable care.
 15            101. Defendants failed to act with reasonable care, resulting in the
 16   wrongful arrest and detention of Plaintiff.
 17            102. Defendant COUNTY OF SAN DIEGO is liable for the negligence of
 18   its employees under respondeat superior.
 19            103. Defendants’ breach of the duty of reasonable care caused damages to
 20   Plaintiff, in an amount to be established at trial.
 21
 22            WHEREFORE, Plaintiff prays as follows:
 23            1.     For general and special damages according to proof at the time of
 24   trial;
 25            2.     For punitive damages;
 26            3.     For costs of suit and interest incurred herein;
 27            4.     For an award of attorney’s fees;
 28            5.     For punitive damages; and

                                                   13
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  1         6.   Any further injunctive or declaratory relief this court deems just and
  2   proper.
  3
  4   DATED: December 1, 2014              Respectfully submitted,
  5
  6
  7                                        /s/ Julia Yoo
                                           Eugene G. Iredale
  8                                        Julia Yoo
                                           Attorneys for Plaintiff
  9                                        Aaron Calcagno
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